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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                    Criminal No. 22-cr-15 (APM)
                                          )
ELMER STEWART RHODES, III,                )
                                          )
KELLY MEGGS,                              )
                                          )
KENNETH HARRELSON,                        )
                                          )
JESSICA WATKINS, and                      )
                                          )
THOMAS CALDWELL,                          )
                                          )
      Defendants.                         )
_________________________________________ )

                                     JURY INSTRUCTIONS

       Ladies and gentlemen, the time has now come when all of the evidence is in. It is now up

to me to instruct you on the law. Before we talk about the specific charges alleged here and some

of the specific issues in this case, I want to take a few moments to talk about some general rules

of law. Some of these will repeat what I told you in my preliminary instructions.

                                       Function of the Court

       My function is to conduct this trial in an orderly, fair, and efficient manner; to rule on

questions of law; and to instruct you on the law that applies in this case.

       It is your duty to accept the law as I instruct you. You should consider all the instructions

as a whole. You may not ignore or refuse to follow any of them.
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                                        Function of the Jury

       Your function, as the jury, is to determine what the facts are in this case. You are the sole

judges of the facts. While it is my responsibility to decide what is admitted as evidence during the

trial, you alone decide what weight, if any, to give to that evidence. You alone decide the

credibility or believability of the witnesses.

       You should determine the facts without prejudice, fear, sympathy, or favoritism. You

should not be improperly influenced by anyone’s race, ethnic origin, or gender. Decide the case

solely from a fair consideration of the evidence.

       You may not take anything I may have said or done as indicating how I think you should

decide this case. If you believe that I have expressed or indicated any such opinion, you should

ignore it. The verdict in this case is your sole and exclusive responsibility.

                                    Jury’s Recollection Controls

       If any reference by the court or the attorneys to the evidence does not coincide with your

own recollection of the evidence, it is your recollection that should control during your

deliberations.

                                        Notetaking by Jurors

         During the trial, I have permitted those jurors who wanted to do so to take notes. You

 may take your notebooks with you to the jury room and use them during your deliberations if you

 wish. As I told you at the beginning of the trial, your notes are only to be an aid to your memory.

 They are not evidence in the case, and they should not replace your own memory of the evidence.

 Those jurors who have not taken notes should rely on their own memory of the evidence. The

 notes are intended to be for the notetaker’s own personal use.




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                            Burden of Proof – Presumption of Innocence

        Every defendant in a criminal case is presumed to be innocent. This presumption of

innocence remains with the defendant throughout the trial unless and until the government has

proven he is guilty beyond a reasonable doubt. This burden never shifts throughout the trial. The

law does not require the defendant to prove his innocence or to produce any evidence at all. If

you find that the government has proven beyond a reasonable doubt every element of a particular

offense with which the defendant is charged, it is your duty to find him guilty of that offense. On

the other hand, if you find the government has failed to prove any element of a particular offense

beyond a reasonable doubt, you must find the defendant not guilty of that offense.

                                     Reasonable Doubt – Defined

        The government has the burden of proving the defendant guilty beyond a reasonable doubt.

In civil cases, it is only necessary to prove that a fact is more likely true than not, or, in some cases,

that its truth is highly probable. In criminal cases such as this one, the government’s proof must

be more powerful than that. It must be beyond a reasonable doubt. Reasonable doubt, as the name

implies, is a doubt based on reason—a doubt for which you have a reason based upon the evidence

or lack of evidence in the case. If, after careful, honest, and impartial consideration of all the

evidence, you cannot say that you are firmly convinced of the defendant’s guilt, then you have a

reasonable doubt.

        Reasonable doubt is the kind of doubt that would cause a reasonable person, after careful

and thoughtful reflection, to hesitate to act in the graver or more important matters in life.

However, it is not an imaginary doubt, nor a doubt based on speculation or guesswork; it is a doubt

based on reason. The government is not required to prove guilt beyond all doubt, or to a

mathematical or scientific certainty. Its burden is to prove guilt beyond a reasonable doubt.




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                              Nature of Charges Not to Be Considered

       One of the questions you were asked when we were selecting this jury was whether the

nature of the charges would affect your ability to render a fair and impartial verdict. There was a

reason for that question. You must not allow the nature of the charges themselves to affect your

verdict. You must consider only the evidence that has been presented in this case in rendering a

fair and impartial verdict.

                                       Number of Witnesses

       The weight of the evidence is not necessarily determined by the number of witnesses

testifying for each side. Rather, you should consider all the facts and circumstances in evidence to

determine which of the witnesses you believe. You might find that the testimony of a smaller

number of witnesses on one side is more believable than the testimony of a greater number of

witnesses on the other side or you might find the opposite.

                               Considering the Evidence in the Case

       During your deliberations, you may consider only the evidence properly admitted in this

trial. The evidence in this case was the sworn testimony of the witnesses, the exhibits that were

admitted into evidence, and the facts stipulated to by the parties.

       During the trial, you were told that the parties had stipulated—that is, agreed—to certain

facts. You should consider any stipulation of fact to be undisputed evidence.

       When you consider the evidence, you are permitted to draw, from the facts that you find

have been proven, such reasonable inferences as you feel are justified in the light of your

experience. You should give any evidence such weight as in your judgment it is fairly entitled to

receive.




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                              Statements of Counsel – Not Evidence

       The statements and arguments of the lawyers are not evidence. They are only intended to

assist you in understanding the evidence. Similarly, the questions of the lawyers are not evidence.

                               Direct and Circumstantial Evidence

       There are two types of evidence from which you may determine what the facts are in this

case—direct evidence and circumstantial evidence. When a witness, such as an eyewitness,

asserts actual knowledge of a fact, that witness’s testimony is direct evidence. On the other hand,

evidence of facts and circumstances from which reasonable inferences may be drawn is

circumstantial evidence.

       Let me give you an example. Assume a person looked out a window and saw that snow

was falling. If he or she later testified in court about what they had seen, their testimony would

be direct evidence that snow was falling at the time he saw it happen. Assume, however, that a

person looked out a window and saw no snow on the ground, and then went to sleep and saw snow

on the ground after he woke up.         That testimony about what had been seen would be

circumstantial evidence that it had snowed while the person was asleep.

       The law says that both direct and circumstantial evidence are acceptable as a means of

proving a fact. The law does not favor one form of evidence over another. It is for you to decide

how much weight to give to any particular evidence, whether it is direct or circumstantial. You

are permitted to give equal weight to both. Circumstantial evidence does not require a greater

degree of certainty than direct evidence. In reaching a verdict in this case, you should consider

all of the evidence presented, both direct and circumstantial.




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                               Inadmissible and Stricken Evidence

       The lawyers in this case sometimes objected when the other side asked a question, made

an argument, or offered evidence that the objecting lawyer believed was not proper. You must

not hold such objections against the lawyer who made them or the party they represent. It is the

lawyers’ responsibility to object to evidence that they believe is not admissible.

       If, during the course of the trial, I sustained an objection to a lawyer’s question, you should

ignore the question, and you must not speculate as to what the answer would have been. If, after

a witness answered a question, I ruled that the answer should be stricken, you should ignore both

the question and the answer and they should play no part in your deliberations. Likewise, exhibits

as to which I have sustained an objection or that I ordered stricken are not evidence, and you must

not consider them in your deliberations.

                                     Credibility of Witnesses

       In determining whether the government has proved its case, you must consider and weigh

the testimony of all the witnesses who have appeared before you.

       You are the sole judge of the credibility of the witnesses. In other words, you alone are to

determine whether to believe any witness and the extent to which any witness should be believed.

       In reaching a conclusion as to the credibility of any witness, you may consider any matter

that may have a bearing on the subject. You may consider the demeanor and the behavior of the

witness on the witness stand; the witness’s manner of testifying; whether the witness impresses

you as a truthful person; whether the witness impresses you as having an accurate memory and

recollection; whether the witness has any motive for not telling the truth; whether the witness had

a full opportunity to observe the matters about which he or she has testified; whether the witness




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has any interest in the outcome of this case, or friendship or hostility toward other people

concerned with this case.

        Inconsistencies or discrepancies in the testimony of a witness, or between the testimony of

different witnesses, may or may not cause you to discredit such testimony. Two or more persons

witnessing an incident or transaction may see or hear it differently; an innocent mis-recollection,

like a failure of recollection, is not an uncommon experience. In weighing the effect of the

inconsistency or discrepancy, always consider whether it pertains to a matter of important or

unimportant detail, and whether the inconsistency or discrepancy results from innocent error or

intentional falsehood.

        You may consider the reasonableness or unreasonableness, the probability or

improbability, of the testimony of a witness in determining whether to accept it as true and

accurate. You may consider whether the witness has been contradicted or supported by other

credible evidence.

        If you believe that any witness has shown him or herself to be biased or prejudiced, for or

against either side in this trial, you may consider and determine whether such bias or prejudice has

colored the testimony of the witness so as to affect the desire and capability of that witness to tell

the truth.

        You should give the testimony of each witness such weight as in your judgment it is fairly

entitled to receive.

                                      Participants’ Testimony

        The parties are permitted to call witnesses who testify that they participated in the

offense(s) charged against the defendant(s), although the testimony of such a witness should be




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considered with caution. You should give their testimony as much weight as in your judgment it

deserves.

                                Witnesses with Plea Agreements

        You have heard evidence that two witnesses, Jason Dolan and Graydon Young, entered

into a plea agreement with the government pursuant to which they agreed to testify truthfully in

this case and the government agreed to dismiss certain charges against them and bring their

cooperation to the attention of their sentencing judge and consider filing papers with their judge

which would permit that judge to impose a more lenient sentence than that judge might otherwise

be able to impose.

        The government is permitted to enter into these kinds of plea agreements. You, in turn,

may accept the testimony of such witnesses and convict a defendant on the basis of this testimony

alone, if it convinces you of a defendant’s guilt beyond a reasonable doubt. Witnesses who have

entered into plea agreements are under the same obligation to tell the truth as are any other

witnesses; the plea agreement does not protect them against a prosecution for perjury or false

statement, should they lie under oath.

        However, you may consider whether witnesses who have entered into such agreements

have an interest different from other types of witnesses. You may consider whether the plea

agreements the witnesses entered into with the government have motivated them to testify falsely

against the defendants. The testimony of witnesses who have entered into plea agreements should

be considered with caution. You should give their testimony as much weight as in your judgment

it deserves.




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                                      Preparation of Witness

       You have heard testimony about witnesses meeting with attorneys and/or investigators

before they testified. You are instructed that it is perfectly proper for a lawyer or investigator to

interview a witness in preparation for trial.

                     Police Officer’s or Law Enforcement Agent’s Testimony

       A police officer’s or law enforcement agent’s testimony should be considered by you just

as any other evidence in the case. In evaluating the officer’s or agent’s credibility you should use

the same guidelines that you apply to the testimony of any witness. In no event should you give

either greater or lesser weight to the testimony of any witness merely because he or she is a police

officer or law enforcement agent.

                                 Right of Defendant Not to Testify

       Every defendant in a criminal case has an absolute right not to testify. Mr. Meggs and Mr.

Harrelson have chosen to exercise this right. You must not hold this decision against them, and it

would be improper for you to speculate as to the reason or reasons for their decisions. You must

not assume any defendant is guilty because they chose not to testify.

                                       Defendant as Witness

       A defendant also has a right to become a witness on his own behalf. Mr. Rhodes, Mr.

Caldwell, and Ms. Watkins have chosen to exercise their right to testify. Their testimony should

not be disbelieved merely because they are defendants. In evaluating their testimony, however,

you may consider the fact that the defendant has a vital interest in the outcome of this trial. As

with the testimony of any other witness, you should give a defendant’s testimony as much weight

as in your judgment it deserves.




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                                     Character of Defendant

       Ms. Watkins has introduced testimony that in the opinion of Montana Siniff, Ms. Watkins

is law abiding. Mr. Caldwell has introduced testimony that in the opinion of Rosier Dulaney

Washington, Mr. Caldwell is a truthful and honest person. Such evidence may indicate to you that

it is unlikely that a law-abiding or truthful person would commit the crimes charged or it may not.

You may consider this evidence along with other evidence in the case including evidence that

contradicts the character evidence and give it as much weight as you think it deserves.

       Notwithstanding the evidence of character, if, after weighing all the evidence, you are

convinced beyond a reasonable doubt that the defendant is guilty of the crimes charged, it is your

duty to find the defendant guilty. On the other hand, evidence of good character alone may create

a reasonable doubt as to a defendant’s guilt, although without it the other evidence would be

convincing.

                                 Specialized Opinion Testimony

       In this case, you heard the testimony of Jennifer Banks who expressed opinions concerning

cell site location information. You have also heard the testimony of Kathryn Cain who expressed

opinions concerning forensic analysis of digital evidence.       If scientific, technical, or other

specialized knowledge might assist the jury in understanding the evidence or in determining a fact

in issue, a witness who possesses knowledge, skill, experience, training, or education may testify

and state an opinion concerning such matters. You are not bound to accept this witness’s opinion.

If you find that the opinion is not based on sufficient education or experience, that the reasons

supporting the opinion are not sound, or that the opinion is outweighed by other evidence, you

may completely or partially disregard the opinion. You should consider this evidence with all the

other evidence in the case and give it as much weight as you think it fairly deserves.




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                     Evaluation of Prior Inconsistent Statement of a Witness

        You have heard evidence that witnesses may have made statements on an earlier occasion

and that these statements may be inconsistent with the testimony here at trial. It is for you to decide

whether the witness made such a statement and whether in fact it was inconsistent with the

witness’s testimony here. If you find such an inconsistency, you may consider the earlier statement

in judging the credibility of the witness, but you may not consider it as evidence that what was

said in the earlier statement was true.

                          Impeachment by Proof of Conviction of a Crime

        You have heard evidence that witness Abdullah Rasheed has been convicted of a crime.

You may consider this conviction only in evaluating the credibility of that witness’s testimony in

this case.

                          Evidence Admitted Against One Defendant Only

        Certain evidence in this case has been admitted only against a particular defendant, and not

admitted against other defendants. That evidence includes the following:

        1.     Exhibit 6923 is admitted against all defendants, except slide numbers 2006.T.1.292,

2006.T.1.335, 2007.T.3.8, 2001.T.54.1, and 2001.T.54.2, which are admitted only as to Mr.

Caldwell.

        2.     Exhibits 9310, 9312, 9313, 9315, and 9340 are admitted only against Mr. Caldwell.

        3.     The communications exchanged in Exhibit 2001.T.129 are admitted only against

Mr. Caldwell. However, the unsent messages are not so limited.

        Unless I have previously instructed you otherwise, all other evidence has been admitted

against all defendants.




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                            Transcript of Video and Audio Recording

       A transcript of a recording was furnished for your convenience and guidance as you

listened to the recording to clarify portions of the recording which are difficult to hear and to help

you identify speakers. The recording, however, is the evidence in the case; the transcript is not. If

you notice any difference between the transcript and the recording, you must rely only on the

recording and not the transcript. In addition, if you cannot determine from the recording that

particular words were spoken, you must disregard the transcript as far as those words are

concerned.

                                       Redacted Documents

         During the course of this trial, some exhibits were admitted in evidence. Sometimes only

 those parts of an exhibit that are relevant to your deliberations were admitted. Where this has

 occurred, the irrelevant parts of the exhibit were blacked out or otherwise removed, or a video

 may have been played without audio. There are a variety of reasons why only a portion of an

 exhibit is admitted, including that the other portions are inadmissible or implicate an individual’s

 privacy. As you examine the exhibits, and you see where there appear to be omissions, you

 should consider only the portions that were admitted. You should not guess as to what has been

 taken out, and you should not hold it against any party. You are to decide the facts only from

 the evidence that is before you.




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                                            Speech

       You have heard evidence about statements made to and by some defendants and other

individuals. The First Amendment of the United States Constitution protects an individual’s right

to free speech, including speech that you may find to be vile, hateful, or offensive. The First

Amendment does not, however, provide a right to engage in speech that is integral to criminal

conduct. You may not find that a defendant committed a crime, or that a conspiracy existed,

simply because you find that a defendant, or other individuals, engaged in speech you find to be

offensive. You may, however, consider the statements made by defendants and other individuals

as evidence that, for example, a conspiracy existed, a defendant entered into a conspiracy, or a

defendant had a certain motive, intent, or knowledge.

                                           Firearms

       You heard evidence that some defendants and other individuals possessed firearms. The

Second Amendment of the United States Constitution protects an individual’s right to possess

firearms in certain circumstances, and there is nothing inherently unlawful about doing so. The

Second Amendment does not, however, provide a right to possess or use a firearm to commit a

crime, including to further a conspiracy. You may not infer that a defendant had a predisposition

to engage in criminal conduct simply because a person lawfully possessed firearms. You may,

however, consider this evidence as circumstantial proof that a defendant planned to do something

unlawful.

                            Organization and Persons Not Present

       The Oath Keepers organization is not a defendant in this case, and the defendants are not

on trial for having knowledge of, or being associated with, the Oath Keepers organization.




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       In our system of justice, guilt or innocence is personal and individual and you should not

make any inferences or speculate about other individuals you have heard about in this trial or

whether they have been charged with crimes. I have decided which defendants will stand trial

together and at which time. The only issue for you to decide is whether the government has

proved each of these defendants guilty beyond a reasonable doubt.

                                    Proof of “in and around”

                                            Conspiracy Counts

       The indictment charges that the offense of seditious conspiracy was committed from a time

period commencing in or around November 2020, through in and around January 20, 2021.

       The indictment also charges that the offense of conspiracy to obstruct an official

proceeding and conspiracy to prevent an officer from discharging any duties was committed from

a time period commencing in and around December 2020 through in and around January 2021.

       The proof need not establish that a conspiracy began and ended on an exact date. Also,

the proof need not establish that a conspiracy existed for any particular length of time. It is

sufficient if the evidence in the case establishes beyond a reasonable doubt that the conspiracy

existed at any time in the time window alleged.

                                               Other Counts

       The indictment charges that the other offenses were committed “on or about” certain dates.

The proof need not establish with certainty the exact date of the alleged offense. It is sufficient if

the evidence in the case establishes beyond a reasonable doubt that the offense was committed on

a date reasonably near the date alleged.




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                                     Proof of State of Mind

       Someone’s intent or knowledge ordinarily cannot be proved directly, because there is no

way of knowing what a person is actually thinking, but you may infer someone’s intent or

knowledge from the surrounding circumstances. You may consider any statement made or acts

done or omitted by the defendants, and all other facts and circumstances received in evidence

which indicate their intent or knowledge.

       You may infer, but are not required to infer, that a person intends the natural and probable

consequence of acts they intentionally did or did not do. It is entirely up to you, however, to

decide what facts to find from the evidence received during this trial. You should consider all the

circumstances in evidence that you think are relevant in determining whether the government has

proved beyond a reasonable doubt that the defendant acted with the necessary state of mind.

       While a defendant must act with the intent as I describe below for each charged crime, this

need not be the defendant’s sole purpose. A defendant’s unlawful intent is not negated by the

simultaneous presence of another purpose for the defendant’s conduct.


                                    Summary of Indictment

       With these preliminary instructions in mind, let us turn to the charges against the

defendants, as contained in the indictment. The indictment itself is not evidence. It merely

describes the charges made against each defendant and is the means by which each defendant was

formally notified of the charges against him or her. The indictment is merely an accusation. It

may not be considered by you as evidence of the guilt of any defendant, and you must not draw

any inference of guilt from it.

       The indictment in this case contains conspiracy charges and other charges. The indictment

alleges that the defendants agreed to oppose by force the lawful transfer of presidential power


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following the 2020 U.S. Presidential Election, and, in so doing, that the defendants violated three

separate conspiracy laws. The first conspiracy charge is Count One, seditious conspiracy, which

charges that the defendants entered an agreement to try to stop the lawful transfer of power by

opposing by force the authority of the Government of the United States, or to use force to prevent,

hinder, and delay the execution of any law of the United States. The second conspiracy charge is

Count Two, conspiracy to obstruct an official proceeding, which charges that the defendants

entered an agreement to obstruct an official proceeding, that is, Congress’s session on January 6,

2021, to certify the Electoral College votes. And the third conspiracy charge is Count Four,

conspiracy to prevent members of Congress from discharging their duties.

       With regard to the other charges: Count Three of the indictment charges all five defendants

with obstruction of an official proceeding, meaning Congress’s session on January 6 to certify the

Electoral College votes. Count Five charges defendants Kelly Meggs, Kenneth Harrelson, and

Jessica Watkins with destruction of government property, for the alleged damage to property at

the U.S. Capitol on January 6. Count Six charges Jessica Watkins with committing an act to

obstruct, impede, or interfere with law enforcement officers lawfully carrying out their official

duties incident to a civil disorder, for allegedly interfering with police officers inside the Capitol

on January 6. Finally, Counts Seven, Eight, Nine, and Ten charge defendants Stewart Rhodes,

Kelly Meggs, Kenneth Harrelson, and Thomas Caldwell with obstruction of justice for tampering

with documents or proceedings. These charges are based on the allegation that these defendants,

after January 6, deleted certain content from their cell phones or social media accounts —or, in the

case of Stewart Rhodes, encouraged or instructed other people to delete the content—to prevent

the grand jury from obtaining that content.




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                                            Conspiracy

       The law of conspiracy that I am about to explain to you applies to Count One, charging the

defendants with seditious conspiracy; Count Two, charging the defendants with conspiracy to

obstruct an official proceeding; and Count Four, charging the defendants with conspiracy to

prevent Members of Congress from discharging their duties. I will instruct you as to each of those

offenses, but first I will instruct you as to certain principles about conspiracies that apply to all

three of these offenses.

       Definition of conspiracy

       A conspiracy is an agreement by two or more persons to join together to accomplish some

unlawful purpose.

       To sustain its burden of proof with respect to each of the offenses charged in Counts One,

Two, and Four—seditious conspiracy, conspiracy to obstruct an official proceeding, and

conspiracy to prevent Members of Congress from discharging their duties—the government must

prove beyond a reasonable doubt the following two elements:

       First, the existence of the charged conspiracy—that is, the existence of an agreement or

understanding to commit the unlawful object of such conspiracy; and

       Second, that the defendant knowingly became a member of the conspiracy, with intent to

achieve the illegal object of the charged conspiracy.

       Now I will separately discuss each of these elements.

       Existence of a conspiracy

       The first element of the crime of conspiracy is the existence of an agreement. The

government must prove beyond a reasonable doubt that two or more persons knowingly and

intentionally arrived at a mutual understanding or agreement, either explicitly or implicitly, to




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work together to achieve the overall objectives of the conspiracy. The government does not have

to prove the existence of a formal or written agreement, or an express oral agreement spelling out

the details of the understanding. The government also does not have to prove that all members of

the conspiracy directly met, or discussed between themselves their unlawful objectives, or agreed

to all the details, or agreed to what the means were by which the objectives would be accomplished.

What the government must prove beyond a reasonable doubt is that two or more persons in some

way or manner arrived at some type of agreement, mutual understanding, or meeting of the minds

to try to accomplish a common and unlawful objective.

       You may consider both direct evidence and circumstantial evidence in deciding whether

the government has proved beyond a reasonable doubt that an agreement or mutual understanding

existed. You may find the existence of a conspiracy based on reasonable inferences drawn from

the actions and statements of the alleged members of the conspiracy, from the circumstances

surrounding the scheme, and from evidence of related facts and circumstances which prove that

the activities of the participants in a criminal venture could not have been carried out except as the

result of a preconceived agreement, scheme, or understanding.

       Success is irrelevant

       It does not matter whether the persons who formed the agreement actually carried out their

plans or whether the agreement ultimately was successful.

       Proof concerning the accomplishment of the object of a conspiracy may be evidence of the

existence of the conspiracy itself. In other words, success in carrying out an act, if you believe it

was carried out, may be proof of the agreement itself—but as I just said, it is not necessary that a

conspiracy actually succeed in its purpose for you to conclude that it existed.




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       “Knowing,” “intentionally,” and “unlawfully”

       If you conclude that the government has proven beyond a reasonable doubt that the

conspiracy you are considering existed, and that the conspiracy had as its object one of the illegal

purposes charged in the indictment, then you must next determine whether the defendant

intentionally participated in that conspiracy with knowledge of its unlawful purposes, and with the

intent to further its unlawful objectives.

       The government must prove beyond a reasonable doubt that the defendant knowingly and

intentionally entered into the conspiracy with criminal intent—that is, with a purpose to violate

the law—and that he or she agreed to take part in the conspiracy to promote and cooperate in its

unlawful objectives.

       “Unlawfully” simply means contrary to law. A defendant does not need to have known

that he or she was breaking any particular law, but he or she must have been aware of the generally

unlawful nature of their acts.

       The terms “knowingly” and “intentionally” mean that to find that a defendant joined the

conspiracy, you must conclude beyond a reasonable doubt that in doing so, he or she knew what

they were doing; in other words, that the defendant took the actions in question deliberately and

voluntarily. An act is done “knowingly” and “intentionally” if it is done deliberately and

purposely; that is, the defendant’s acts must have been the product of the defendant’s conscious

objective, rather than the product of a mistake or accident, or mere negligence, or some other

innocent reason.

       You have heard evidence of certain acts and conversations that are alleged to have taken

place with a defendant or while a defendant was listening to, watching, or reading the

conversations or observing the acts. You may, but are not required to, consider this evidence in




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determining whether these acts and conversations show beyond a reasonable doubt a defendant’s

knowledge of the unlawful purposes of the conspiracy. You may consider this evidence along

with other evidence in the case and give it as much weight as you think it deserves.

       It is not necessary for the government to show that the defendant was fully informed as to

all the details of the conspiracy for you to infer knowledge on his part. To have guilty knowledge,

the defendant need not know the full extent of the conspiracy or all of the activities of all of its

participants. It is not necessary for the defendant to know every other member of the conspiracy.

In fact, the defendant may know only one other member of the conspiracy and still be a co-

conspirator. It is enough if he or she participated as a conspirator unlawfully, intentionally, and

knowingly as I have defined those terms.

       Duration and extent of the defendant’s joining of the agreement

       The duration and extent of the defendant’s joining of the agreement has no bearing on the

issue of the defendant’s guilt. The defendant need not have joined the conspiracy at the outset.

With regard to liability for conspiracy (although not substantive offenses), the defendant may have

joined the conspiracy at any time in its progress, and will still be held responsible for all that was

done before he joined, if those acts were reasonably foreseeable and within the scope of the

defendant’s agreement, and for all that was done during the conspiracy’s existence while he or she

was a member. Each member of a conspiracy may perform separate and distinct acts, or no acts at

all. Some conspirators may play major roles, while others play only minor roles in the scheme.

An equal role is not what the law requires, and a defendant does not need to perform any specific

act beyond joining the conspiratorial agreement.

       I want to caution you, however, that a person’s mere association with a member of a

conspiracy does not make that person a member of the conspiracy, even when that association is




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coupled with knowledge that a conspiracy is taking place. For example, mere presence at the scene

of a crime, even coupled with knowledge that a crime is taking place, is not sufficient to support a

conviction for conspiracy. In other words, knowledge without agreement is not sufficient. What

is necessary is that the defendant has joined the conspiracy with knowledge of its unlawful

purposes and with an intent to aid in the accomplishment of its unlawful objectives. A person may

know, or be friendly with, a conspirator without being a conspirator himself. Mere similarity of

conduct or the fact that persons may have assembled together and discussed common aims and

interests does not necessarily establish membership in a conspiracy.

       I also want to caution you that mere knowledge of or acquiescence to the unlawful plan—

without agreement in it—is not sufficient. Moreover, the fact that the acts of the defendant without

knowledge merely happened to further the purposes or objectives of the conspiracy, does not make

the defendant a member. More is required under the law. The defendant must have joined the

agreement with knowledge of at least some of the purposes or objectives of the conspiracy and

with the intention of aiding in the accomplishment of those unlawful ends.

       In sum, you must find beyond a reasonable doubt that the defendant, with an understanding

of the unlawful nature of the conspiracy, intentionally engaged, advised or assisted in the

conspiracy for the purpose of furthering an illegal undertaking. The defendant thereby becomes a

knowing and willing participant in the unlawful agreement—that is to say, a conspirator.

       Termination of a conspiracy

       A conspiracy, once formed, is presumed to continue until either its objective is

accomplished or there is some affirmative act of termination by its members. Similarly, once a




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person is found to be a member of a conspiracy, he is presumed to continue his membership in the

venture until its termination.

       It is not essential that the government prove that a particular conspiracy alleged in the

indictment started or ended on any of the specific dates described for that conspiracy. It is

sufficient if you find that the conspiracy was formed and that it existed within the time set forth in

the indictment.

                                       Seditious Conspiracy

       Count One of the indictment charges that, from in and around November 2020 through in

and around January 2021, the defendants participated in a conspiracy to do at least one of two

things: (1) to oppose by force the authority of the Government of the United States, or (2) to

prevent, hinder, or delay the execution of any law of the United States by force.

                                              Elements

       In order to find a defendant guilty of conspiring to oppose by force the authority of the

Government of the United States, or to prevent, hinder, or delay the execution of any law of the

United States by force, you must find that the government proved each of the following two

elements beyond a reasonable doubt:

       First, that the defendant conspired or agreed with at least one other person with the goal of

opposing by force the authority of the Government of the United States, or preventing, hindering,

or delaying the execution of any law of the United States by force.

       Second, that the defendant joined or entered into that agreement with awareness of one or

both of its unlawful goals.

       I have already instructed you generally on conspiracies. But I will now give you additional

instructions specific to the offense of seditious conspiracy charged in Count One.



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                     Unanimity as to the Objects or Goals of the Conspiracy

       The object of a conspiracy is the illegal goal that the conspirators agree or hope to achieve.

A conspiracy may have more than one object.

       Count One charges the defendants with conspiring to achieve two separate goals or objects:

(1) opposing the authority of the Government of the United States by force, and (2) preventing,

hindering, or delaying the execution of any law of the United States by force. Although two

separate goals of the conspiracy are charged, you may find the conspiracy proved if it is established

that either one of those goals was agreed to by two or more persons.

       The government is not required to prove both goals of the conspiracy. However, the

government must prove at least one of those two goals beyond a reasonable doubt. If the

government has not proved that at least one of those goals was a goal of the conspiracy charged in

Count One, your verdict must be not guilty.

       As to either or both goals which you may find the conspirators agreed to promote, you must

be unanimous. For example, if some of you find that the conspirators agreed only to oppose by

force the authority of the Government of the United States, and the remaining jurors find that the

conspirators agreed only to prevent, hinder, or delay the execution of any law of the United States

by force, that is not enough. You must be unanimous as to one or the other or both.

                                            Definitions

       The two goals of the conspiracy charged in the indictment—(1) to oppose by force the

authority of the Government of the United States, and (2) to prevent, hinder, or delay the execution




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of any law of the United States by force—both have as a common ingredient the intent to use force

against the United States, functioning through its government. I will now explain these concepts.

        To determine whether the conspiracy was to “oppose by force the authority of the United

States,” you must consider whether the agreement was to oppose the authority of the United States

and whether that agreement was to do so by force. The agreement must be to resist some positive

assertion or actual exercise of authority by the government. “Resist” means to act in opposition

to; to endeavor to counteract, defeat, or frustrate. “Authority” for purposes of this offense means

the legal or rightful power of the United States government. An agreement to merely violate the

law is not sufficient.

        To determine whether the conspiracy was to “prevent, hinder, or delay the execution of

any law of the United States” by force, you should determine whether the agreement was to

forcibly resist the authority of the United States while it endeavored to carry the laws into

execution. Or, put differently, you should determine whether the agreement was to exert force

against the government of the United States in its execution of the laws of the United States.

“Authority” and “resist” carry the same definitions as above. The “laws” for purposes of this goal

are those governing the transfer of presidential power, including: the United States Constitution

(specifically Article II and the Twelfth Amendment) and Title 3, Section 15 of the United States

Code. The Twelfth Amendment to the Constitution provides that the Vice President, as the

President of Senate, must in the presence of the Senate and House of Representatives open all the

certificates for presidential election sent by the Electors to Congress. Title 3, Section 15 of the

United States Code further provides that the Senate and House of Representatives must meet for

that purpose at 1 pm on January 6 following a presidential election. Finally, Article II to the

United States Constitution, as amended by the Twelfth and Twentieth Amendments, provides that




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the person with the greatest number of votes, after that person takes the required oath, shall become

president on January 20. An agreement to merely violate the law is not sufficient.

         Both goals of the seditious conspiracy require an agreement that physical force would be

used. An agreement to accomplish the goals of the conspiracy by litigation, advocacy, protest, or

deceit is insufficient. Force is defined in the conventional or ordinary sense. An act involves

force if it threatens or results in violence or if it threatens or results in harming or destroying

property or harming or killing people. It is not necessary for the government to show that force

was actually used by the conspirators. Nor is it necessary for the government to prove that the

conspirators agreed as to every detail of how force was to be used, or as to the specific targets of

the use of force. However, the government must prove at least that the conspirators intended that

force would be used.

                         Conspiracy to Obstruct an Official Proceeding

         Count Two of the indictment charges that, from in and around December 2020 through in

and around January 2021, the defendants participated in a conspiracy to obstruct an official

proceeding.

                                              Elements

         In order to find a defendant guilty of conspiring to obstruct an official proceeding, you

must find that the government proved each of the following two elements beyond a reasonable

doubt:

         First, that the defendant conspired or agreed with at least one other person with the goal of

committing the crime of obstructing an official proceeding.

         Second, that the defendant joined or entered into that agreement with awareness of its

unlawful goal.




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                                            Definitions

       I have already instructed you generally on conspiracies. The instructions in Count Three,

which charges each defendant individually with obstruction of an official proceeding and which I

am about to provide, apply equally to Count Two when you are considering whether each

defendant conspired to commit the crime that is charged substantively in Count Three.

                             Obstruction of an Official Proceeding

       Count Three of the indictment charges each defendant individually with corruptly

obstructing an official proceeding, on or about January 6, 2021, which is a violation of the law.

Count Three also charges each defendant individually with attempting to obstruct or impede an

official proceeding and aiding and abetting others to commit that offense.

       I will first explain the elements of the substantive offense, along with its associated

definitions. Then, I will explain how to determine whether each defendant attempted the offense,

whether each defendant aided and abetted the offense, or whether each defendant can be held

responsible for the offense under co-conspirator liability.

                                             Elements

       In order to find a defendant guilty of corruptly obstructing an official proceeding, you must

find that the government proved each of the following four elements beyond a reasonable doubt:

       First, the defendant obstructed or impeded an official proceeding.

       Second, the defendant intended to obstruct or impede the official proceeding.

       Third, the defendant acted knowingly, with awareness that the natural and probable effect

of the defendant’s conduct would be to obstruct or impede the official proceeding.

       Fourth, the defendant acted corruptly.




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                                            Definitions

        The term “official proceeding” includes a proceeding before the Congress. If the official

proceeding was not pending at the time of the offense, the government must prove beyond a

reasonable doubt that the official proceeding was reasonably foreseeable to the defendant. As

used in Counts Two and Three, the term “official proceeding” means Congress’s Joint Session to

certify the Electoral College vote.

        A person acts “knowingly” if he realizes what he is doing and is aware of the nature of his

conduct, and does not act through ignorance, mistake, or accident.         In deciding whether a

defendant acted knowingly, you may consider all of the evidence, including what the defendant

did or said.

        To act “corruptly,” the defendant must use unlawful means or have an improper purpose,

or both. The defendant must also act with “consciousness of wrongdoing.” “Consciousness of

wrongdoing” means with an understanding or awareness that what the person is doing is wrong.

        Not all attempts to obstruct or impede an official proceeding involve acting corruptly. For

example, a witness in a court proceeding may refuse to testify by invoking his constitutional

privilege against self-incrimination, thereby obstructing or impeding the proceeding, but he does

not act corruptly. In contrast, an individual who obstructs or impedes a court proceeding by

engaging in conduct such as offering illegal bribes, engaging in violence, committing fraud, or

through other independently unlawful conduct, is acting corruptly.

        While the defendant must act with intent to obstruct the official proceeding, this need not

be the defendant’s sole purpose. A defendant’s unlawful intent to obstruct justice is not negated

by the simultaneous presence of another purpose for the defendant’s conduct.




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                                            Attempt

       In Count Three, each defendant is also charged individually with attempting to commit the

crime of obstruction of an official proceeding. An attempt to commit obstruction of an official

proceeding is a crime even if the defendant did not actually complete the crime of obstruction of

an official proceeding. In order to find the defendant guilty of attempting to commit obstruction

of an official proceeding, you must find that the government proved beyond a reasonable doubt

each of the following two elements:

       First, that the defendant intended to commit the crime of obstruction of an official

proceeding, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing obstruction of an

official proceeding which strongly corroborates or confirms that the defendant intended to commit

that crime.

       With respect to the first element of attempt, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because the defendant thought

about it. You must find that the evidence proved beyond a reasonable doubt that the defendant’s

mental state passed beyond the stage of thinking about the crime to actually intending to commit

it.

       With respect to the substantial step element, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because the defendant made some

plans to or some preparation for committing that crime. Instead, you must find that the defendant

took some firm, clear, undeniable action to accomplish the defendant’s intent to commit

obstruction of an official proceeding. However, the substantial step element does not require the




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government to prove that the defendant did everything except the last act necessary to complete

the crime.

                                        Aiding and Abetting

         In this case, the government further alleges that the defendants aided and abetted others in

committing, or attempting to commit, obstruction of an official proceeding, as charged in Count

Three. A person may be guilty of an offense if he aided and abetted another person in committing

the offense. A person who has aided and abetted another person in committing an offense is often

called an accomplice. The person whom the accomplice aids and abets is known as the principal.

It is not necessary that all the people who committed the crime be caught or identified. It is

sufficient if you find beyond a reasonable doubt that the crime was committed by someone and

that the defendant knowingly and intentionally aided and abetted that person in committing the

crime.

         In order to find the defendant guilty of obstruction of an official proceeding because the

defendant aided and abetted others in committing this offense or attempting to commit this offense,

you must find the that the government proved beyond a reasonable doubt the following five

requirements:

         First, that others committed, or attempted to commit, obstruction of an official proceeding,

by committing each of the elements of the offense charged, as I have explained above.

         Second, that the defendant knew that obstruction of an official proceeding was going to be

committed, was being committed, or was attempted to be committed by others.

         Third, that the defendant performed an act or acts in furtherance of the offense.

         Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,




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assisting, soliciting, facilitating, or encouraging others in committing, or attempting to commit,

the offense of obstruction of an official proceeding.

       Fifth, that the defendant did that act or acts with the intent that others commit, or attempt

to commit, the offense of obstruction of an official proceeding.

       To show that the defendant performed an act or acts in furtherance of the offense charged,

the government needs to show some affirmative participation by the defendant which at least

encouraged others to commit the offense. That is, you must find that the defendant’s act or acts

did, in some way, aid, assist, facilitate, or encourage others to commit the offense.           The

defendant’s act or acts need not further aid, assist, facilitate, or encourage every part or phase of

the offense charged; it is enough if the defendant’s act or acts further aid, assist, facilitate, or

encourage only one or some parts or phases of the offense. Also, the defendant’s acts need not

themselves be against the law.

       In deciding whether the defendant had the required knowledge and intent to satisfy the

fourth requirement for aiding and abetting, you may consider both direct and circumstantial

evidence, including the defendant’s words and actions and other facts and circumstances.

However, evidence that the defendant merely associated with persons involved in a criminal

venture or was merely present or was merely a knowing spectator during the commission of the

offense is not enough for you to find the defendant guilty as an aider and abettor. If the evidence

shows that the defendant knew that the offense was being committed or was about to be committed,

but does not also prove beyond a reasonable doubt that it was the defendant’s intent and purpose

to aid, assist, encourage, facilitate, or otherwise associate himself with the offense, you may not

find the defendant guilty of the obstruction of an official proceeding as an aider and abettor. The

government must prove beyond a reasonable doubt that the defendant in some way participated in




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the offense committed by others as something the defendant wished to bring about and to make

succeed.

                                     Co-Conspirator Liability

       In this case, the government further alleges that the defendants are guilty of the crime of

obstruction of an official proceeding as charged in Count Three based on co-conspirator liability.

A defendant is responsible for an offense committed by another member of the conspiracy if the

defendant was a member of the conspiracy when the offense was committed and if the offense was

committed in furtherance of, and as a natural consequence of, the conspiracy. In order to find a

defendant guilty of obstruction of an official proceeding as charged in Count Three, you must find

that the government proved beyond a reasonable doubt the following six requirements:

       First, the defendant knowingly joined a conspiracy;

       Second, the charged offense was committed by a member of that conspiracy;

       Third, that the defendant was a member of the conspiracy at the time the charged offense

was committed;

       Fourth, that the charged offense was committed during the existence of the conspiracy;

       Fifth, that the charged offense was committed in furtherance of the conspiracy; and

       Sixth, that the charged offense was a reasonably foreseeable consequence of the

conspiracy.   It is not necessary that the crime was intended as part of the original plan, only that

it was a reasonably foreseeable consequence of the original plan.

       The principles governing conspiracy that I explained above apply here as well.

                               Concluding Remark for Count Three

       A defendant may be found guilty of the offense charged in Count Three if the defendant

obstructed an official proceeding, attempted to obstruct an official proceeding, aided and abetted




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the obstruction of an official proceeding, or as a result of co-conspirator liability. Each of these

four ways of committing the offense is described in the instructions that I have given you. You

are not required to consider the ways of committing this offense in any particular order. If you

find beyond a reasonable doubt that the defendant committed the offense of obstruction of an

official proceeding in any one of these four ways, you should find the defendant guilty of Count

Three and you need not consider whether the defendant committed the offense of obstruction of

an official proceeding in the other three ways.

        Conspiracy to Prevent Members of Congress from Discharging Their Duties

       Count Four of the indictment charges that the defendants, from in and around December

2020 through in and around January 2021, conspired to prevent Members of Congress from

discharging their duties, which is a violation of the law.

                                              Elements

       In order to find the defendant guilty of conspiring to prevent Members of Congress from

discharging their duties, you must find that the government proved each of the following two

elements beyond a reasonable doubt:

       First, that the defendant agreed with at least one other person to, by force, intimidation, or

threat, (1) prevent a Member of Congress from discharging a duty as a Member of Congress, or

(2) induce a Member of Congress to leave the place where the member of Congress’s duties are

required to be performed.

       Second, that the defendant knew of the agreement and willfully joined the agreement.

       I have already instructed you generally on conspiracies. And the instruction I gave you

earlier about unanimity with respect to the objects or goals of the conspiracy applies equally here:




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As to either or both goals which you may find the conspirators agreed to promote, you must be

unanimous.

                                    More Than One Conspiracy

       I have just instructed you on the three conspiracy counts alleged in the indictment:

Counts One, Two, and Four. Proof that a defendant was a member of a separate, uncharged

conspiracy would not prevent you from also finding that defendant guilty of the conspiracy

counts alleged in Counts One, Two, or Four. However, if you find that a defendant was only a

member of a separate, uncharged conspiracy—but not any of three conspiracy counts alleged in

Counts One, Two, or Four – you must acquit that defendant of the three conspiracy counts.

                              Destruction of Government Property

       Count Five of the indictment charges Kelly Meggs, Kenneth Harrelson, and Jessica

Watkins with injuring, damaging, or destroying property of the United States, on or about January

6, 2021. Count Five also charges the same three defendants with attempting to injure, damage, or

destroy property of the United States and with aiding and abetting others to commit that offense.

I will first explain the elements of the substantive offense. I will then instruct you on the elements

for attempting to commit the crime and aiding and abetting others to commit the crime.

                                              Elements

       In order to find a defendant guilty of injuring, damaging, or destroying property of the

United States, you must find that the government proved each of the following four elements

beyond a reasonable doubt:

       First, that the defendant injured, damaged, or destroyed property;

       Second, that the defendant did so willfully;




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       Third, that the property involved was property of the United States, or of any department

or agency thereof; and

       Fourth, the damage or attempted damage to the property in question exceeded the sum of

$1,000.

                                            Definitions

       A defendant acts “willfully” if the defendant acted with a bad purpose or knowledge that

the defendant’s conduct was unlawful. While the government must show that a defendant knew

that the conduct was unlawful, the government does not need to prove that the defendant was aware

of the specific law that the defendant’s conduct violated.

       The government also does not need to prove that the defendant knew that the property

belonged to the United States.

       You must decide whether the value of the property damaged was $1,000 or more.       Value

means fair market value at the time when and the place where the property was allegedly damaged

or destroyed.   The fair market value of the damaged or destroyed property is measured by the

cost of repairing or the cost of replacing the property, whichever is less.   Do not speculate or

guess at the value of the property.   Base your determination only on the evidence.

                                              Attempt

       In Count Five, Kelly Meggs, Kenneth Harrelson, and Jessica Watkins are also charged with

attempting to commit the crime of injuring, damaging, or destroying property of the United States.

An attempt to commit this crime is against the law even if a defendant did not actually complete

the crime.




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       In order to find the defendant guilty of attempt to commit the crime of injuring, damaging,

or destroying property of the United States, you must find that the government proved beyond a

reasonable doubt each of the following two elements:

       First, that the defendant intended to commit the crime of injuring, damaging, or destroying

property of the United States, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing the crime of injuring,

damaging, or destroying property of the United States, which strongly corroborates or confirms

that the defendant intended to commit that crime.

       The principles governing attempt that I explained above apply here as well.

                                       Aiding and Abetting

       The government further alleges Kelly Meggs, Kenneth Harrelson, and Jessica Watkins

aided and abetted others to commit, or attempt to commit, the crime of injuring, damaging, or

destroying property of the United States, as charged in Count Five.

       In order to find a defendant guilty of this offense because the defendant aided and abetted

others in committing it, or attempting to commit it, you must find that the government proved

beyond a reasonable doubt the following five requirements:

       First, that others committed, or attempted to commit, the crime of injuring, damaging, or

destroying property of the United States, as I have explained above.

       Second, that the defendant knew that this offense was going to be committed, was being

committed, or was attempted to be committed by others.

       Third, that the defendant performed an act or acts in furtherance of the offense.

       Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,




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assisting, soliciting, facilitating, or encouraging others in committing, or attempting to commit,

the offense.

       Fifth, that the defendant did that act or acts with the intent that others commit, or attempt

to commit, the offense.

       The principles governing aiding and abetting that I explained above apply here as well.

                                Concluding Remark for Count Five

       A defendant may be found guilty of the offense charged in Count Five if the defendant

injured, damaged, or destroyed property of the United States, attempted to do so, or aided and

abetted others in doing so. Each of these three ways of committing the offense is described in the

instructions that I have given you. You are not required to consider the ways of committing this

offense in any particular order.     If you find beyond a reasonable doubt that the defendant

committed the offense of injuring, damaging, or destroying property of the United States in any

one of these three ways, you should find the defendant guilty of Count Five and you need not

consider whether the defendant committed the offense in the other two ways.

                       Interference with Officers During a Civil Disorder

       Count Six charges Jessica Watkins with committing an act to obstruct, impede, or interfere

with law enforcement officers lawfully carrying out their official duties incident to a civil disorder,

on or about January 6, 2021, which is a violation of federal law. Count Six also charges Jessica

Watkins with attempting to commit this offense and with aiding and abetting others to commit

this offense. I will first explain the elements of the substantive offense, along with its associated

definitions. Then, I will explain how to determine whether the defendant attempted the offense.

Finally, I will explain how to determine if the defendant aided and abetted others to commit the

offense.



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                                             Elements

       In order to find Jessica Watkins guilty of obstructing officers during a civil disorder, you

must find the following four elements beyond a reasonable doubt:

       First, the defendant knowingly committed an act.

       Second, in committing that act, the defendant intended to obstruct, impede, or interfere

with one or more law enforcement officers.

       Third, at the time of the defendant’s actual act, the law enforcement officer or officers were

engaged in the lawful performance of their official duties incident to and during a civil disorder.

       Fourth, the civil disorder in any way or degree obstructed, delayed, or adversely affected

either commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federally protected function.

                                            Definitions

       The term “civil disorder” means any public disturbance involving acts of violence by

groups of three or more persons, which (a) causes an immediate danger of injury to another

individual, (b) causes an immediate danger of damage to another individual’s property, (c) results

in injury to another individual, or (d) results in damage to another individual’s property.

       The term “commerce” means commerce or travel between one state, including the District

of Columbia, and any other state, including the District of Columbia. It also means commerce

wholly within the District of Columbia.

       The term “federally protected function” means any function, operation, or action carried

out, under the laws of the United States, by any department, agency, or instrumentality of the

United States or by an officer or employee thereof.




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       The term “department” includes executive departments. The Department of Homeland

Security, which includes the United States Secret Service, is an executive department.

       The term “agency” includes any department, independent establishment, commission,

administration, authority, board, or bureau of the United States.

                                              Attempt

       In Count Six, Jessica Watkins is also charged with attempting to commit the crime of

obstructing officers during a civil disorder. An attempt to obstruct officers during a civil disorder

is a federal crime even if the defendant did not actually complete the crime of obstructing officers

during a civil disorder.

       In order to find the defendant guilty of attempt to commit the crime of obstructing officers

during a civil disorder, you must find that the government proved beyond a reasonable doubt each

of the following two elements:

       First, that the defendant intended to commit the crime of obstructing officers during a civil

disorder, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing the crime of

obstructing officers during a civil disorder, which strongly corroborates or confirms that the

defendant intended to commit that crime.

       The principles governing attempt that I explained above apply here as well.

                                        Aiding and Abetting

       The government further alleges Jessica Watkins aided and abetted others to commit, or

attempt to commit, the crime of obstructing, impeding, or interfering with law enforcement officers

lawfully carrying out their official duties incident to a civil disorder as charged in Count Six.




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         In order to find the defendant guilty of this offense because she aided and abetted others in

committing it or attempting to commit it, you must find the that the government proved beyond a

reasonable doubt the following five requirements:

         First, that others committed, or attempted to commit, the crime of obstructing, impeding,

or interfering with law enforcement officers lawfully carrying out their official duties incident to

a civil disorder, as I have explained above.

         Second, that the defendant knew that this offense was going to be committed, was being

committed, or was attempted to be committed by others.

         Third, that the defendant performed an act or acts in furtherance of the offense.

         Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,

assisting, soliciting, facilitating, or encouraging others in committing, or attempting to commit,

the offense.

         Fifth, that the defendant did that act or acts with the intent that others commit, or attempt

or commit, the offense.

         The principles governing aiding and abetting that I explained above apply here as well.

                                 Concluding Remark for Count Six

         Ms. Watkins may be found guilty of the offense charged in Count Six if she committed an

act to obstruct, impede, or interfere with law enforcement officers lawfully carrying out their

official duties incident to a civil disorder, attempted to do so, or aided and abetted others in doing

so. Each of these three ways of committing the offense is described in the instructions that I have

given you. You are not required to consider the ways of committing this offense in any particular

order.   If you find beyond a reasonable doubt that Ms. Watkins committed the offense of

obstructing, impeding, or interfering with law enforcement officers lawfully carrying out their




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official duties incident to a civil disorder in any one of these three ways, you should find Ms.

Watkins guilty of Count Six and you need not consider whether she committed the offense in the

other two ways.

             Obstruction of Justice for Tampering with Documents or Proceedings

          Four of the five defendants are charged with obstruction of justice for tampering with

documents or proceedings, between on or about January 6, 2021, and the date of the defendant’s

arrest:

          In Count Seven, Stewart Rhodes is charged with encouraging others to delete media, files,

and communications that showed their involvement in the conduct being investigated by the grand

jury.

          In Count Eight, Kelly Meggs is charged with deleting from his cellular telephone certain

media, files, and communications that showed his involvement in the conduct being investigated

by the grand jury.

          In Count Nine, Kenneth Harrelson is charged with deleting from his cellular telephone

certain media, files, and communications that showed his involvement in the conduct being

investigated by the grand jury.

          In Count Ten, Thomas Caldwell is charged with deleting from Facebook (1) certain

photographs that documented his participation in the attack on the Capitol on January 6, 2021, and

(2) that on or about January 8, 2021, in response to a request from Donovan Crowl for a video,

he sent the video, and subsequently unsent the message containing the video.

          These counts also charge the same four defendants with attempting to commit obstruction

of justice for tampering with documents or proceedings. Additionally, Stewart Rhodes is charged

with aiding and abetting others to commit that offense. I will first explain the elements of the



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substantive offense. I will then instruct you on the elements for attempting to commit the crime,

and, for Stewart Rhodes, aiding and abetting others to commit the crime.

                                               Elements

          In order for you to find a defendant guilty of obstruction of justice for tampering with

documents or proceedings, the government must prove each of the following four elements beyond

a reasonable doubt:

          First, the defendant altered, destroyed, mutilated, or concealed a record, document, or other

object;

          Second, the defendant acted knowingly;

          Third, the defendant acted corruptly, and

          Fourth, the defendant acted with the intent to impair the object’s integrity or availability

for use in an official proceeding.

                                              Definitions

          The definitions of “knowingly” and “corruptly” that I explained above in connection with

Counts Two and Three apply here as well.

          The term “official proceeding” includes a grand jury proceeding.             If the official

proceeding was not pending at the time of the offense, the government must prove beyond a

reasonable doubt that the official proceeding was reasonably foreseeable to the defendant. As

used in Counts Seven through Ten, the term “official proceeding” means the grand jury’s

investigation into the role of Stewart Rhodes, Kelly Meggs, Kenneth Harrelson, Jessica Watkins,

Thomas Caldwell, and others in the attack on the United States Capitol on January 6, 2021.




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       While the defendant must act with intent to obstruct the official proceeding, this need not

be the defendant’s sole purpose. A defendant’s unlawful intent to obstruct justice is not negated

by the simultaneous presence of another purpose for the defendant’s conduct.

                                            Attempt

       In Counts Seven, Eight, Nine, and Ten, Stewart Rhodes, Kelly Meggs, Kenneth Harrelson,

and Thomas Caldwell are also charged with attempt to commit the crime of obstruction of justice

for tampering with documents or proceedings. An attempt to commit obstruction of justice for

tampering with documents or proceedings is a crime even if the defendant did not actually

complete the crime. In order to find the defendant guilty of attempt to commit obstruction of

justice for tampering with documents or proceedings, you must find that the government proved

beyond a reasonable doubt each of the following two elements:

       First, that the defendant intended to commit the crime of obstruction of justice for

tampering with documents or proceedings, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing obstruction of justice

for tampering with documents or proceedings which strongly corroborates or confirms that the

defendant intended to commit that crime.

       The principles governing attempt that I explained above apply here as well.

                                      Aiding and Abetting

       The government further alleges that Stewart Rhodes aided and abetted others in

committing, or attempting to commit, obstruction of justice for tampering with documents or

proceedings as charged in Count Seven.




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       In order to find the defendant guilty of this offense because he aided and abetted others in

committing it, or attempting to commit it, you must find the that the government proved beyond a

reasonable doubt the following five requirements:

       First, that others committed, or attempted to commit, obstruction of justice for tampering

with documents or proceedings by committing each of the elements of the offense charged, as I

have explained above.

       Second, that the defendant knew that obstruction of justice for tampering with documents

or proceedings was going to be committed, was being committed, or was attempted to be

committed by others.

       Third, that the defendant performed an act or acts in furtherance of the offense.

       Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,

assisting, soliciting, facilitating, or encouraging others in committing, or attempting to commit,

the offense of obstruction of justice for tampering with documents or proceedings

       Fifth, that the defendant did that act or acts with the intent that others commit, or attempt

to commit, the offense of obstruction of justice for tampering with documents or proceedings.

       The principles governing aiding and abetting that I explained above apply here as well.

                  Concluding Remark for Counts Seven, Eight, Nine, and Ten

       A defendant may be found guilty of the offense charged in Counts Seven, Eight, Nine, and

Ten if the defendant obstructed justice by tampering with documents or proceedings, or attempted

to do so. Each of these two ways of committing the offense is described in the instructions that I

have given you. You are not required to consider the ways of committing this offense in any

particular order. If you find beyond a reasonable doubt that the defendant committed the offense

of obstruction of justice for tampering with documents or proceeding in either of these two ways,




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you should find the defendant guilty of Count Seven, Eight, Nine, or Ten, and you need not

consider whether the defendant committed the offense in the other way. Similarly, Stewart

Rhodes may be found guilty of the offense charged in Count Seven if he aided and abetted others

to obstruct justice by tampering with documents or proceedings. If you find that he committed

the offense in one of the three ways described above, and you are unanimous as to the way in

which the offense was committed, you need not consider whether he committed the offense in the

other two ways.

                                 Defense Statement of the Case

       The defendants in this case have been accused of conspiring to oppose by force the lawful

transfer of Presidential power following the 2020 U.S. Presidential election.

       The defendants specifically refute that the Government has proven beyond a reasonable

doubt the existence of any agreement to oppose by force the authority of the Government of the

United States; to prevent, hinder, or delay the execution of any law of the United States by force;

to obstruct an official proceeding, or to prevent a Member of Congress from discharging a duty as

a Member of Congress or to induce a Member of Congress to leave the place where the Member’s

duties are required to be performed.

       To the extent the Government has proven any planning occurred in advance of the events

of January 6, 2021, the defense theory of the case is that the defendants were present in

Washington, D.C. generally to provide security and with a specific plan to provide personal

security details for various speakers and other attendees at the events being held that day.

       In addition, Mr. Rhodes submits that the evidence has shown he and others engaged in

planning for the purpose of responding to then President Trump’s potential invocation of the

Insurrection Act.




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       In addition, all defendants have been accused of obstructing or impeding an “official

proceeding,” as that term has been defined by my instructions. Each of the defendants dispute

that the Government has proven beyond a reasonable doubt any individual defendant’s intent with

respect to their actions on January 6, 2021.         Additionally, the defendants refute that the

Government has proven beyond a reasonable doubt that their actions in fact caused the obstructing

and/or impeding of any official proceeding beyond a reasonable doubt.

       Defendants Mr. Meggs, Ms. Watkins, and Mr. Harrelson have also been accused of

willfully injuring, damaging, or destroying property of the United States, which they respectfully

refute the Government having proved beyond a reasonable doubt. Specifically, the defendants

refute that the Government presented any evidence that the defendants injured, damaged or

destroyed any property, or that the Government has proven beyond a reasonable doubt that the

defendants attempted, aided, or abetted the destruction of any property.

       In addition, each defendant except Ms. Watkins has been accused of tampering with

documents or proceedings, specifically evidence of conduct being investigated by the grand jury.

Mr. Rhodes has been accused of encouraging others to delete media files, and communications

that showed their involvement in conduct being investigated by a grand jury, while Messrs. Meggs,

Harrelson, and Caldwell have been accused of deleting records from their mobile phones or their

facebook accounts. The Defendants refute that the Government has proven beyond a reasonable

doubt these allegations. Messrs. Meggs, Harrelson, and Caldwell further refute that to the extent

you find the Government has proven any records were deleted, that any such deletion was not done

corruptly.




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       Before I excuse you to deliberate, I want to discuss a few final matters with you:

                                     Selection of Foreperson

       When you return to the jury room, you should first select a foreperson to preside over your

deliberations and to be your spokesperson here in court. There are no specific rules regarding how

you should select a foreperson. That is up to you. However, as you go about the task, be mindful

of your mission—to reach a fair and just verdict based on the evidence. Consider selecting a

foreperson who will be able to facilitate your discussions, who can help you organize the evidence,

who will encourage civility and mutual respect among all of you, who will invite each juror to

speak up regarding his or her views about the evidence, and who will promote a full and fair

consideration of that evidence.

                   Cautionary Instruction on Communication and Research

       I would like to remind you that, in some cases, there may be reports in the newspaper or

on the radio, internet, or television concerning this case. If there should be such media coverage in

this case, you may be tempted to read, listen to, or watch it. You must not read, listen to, or watch

such reports because you must decide this case solely on the evidence presented in this courtroom.

If any publicity about this trial inadvertently comes to your attention, do not discuss it with other

jurors or anyone else. Just let me or my clerk know as soon after it happens as you can, and I will

then briefly discuss it with you.

       As you retire to the jury room to deliberate, I also wish to remind you of an instruction I

gave you at the beginning of the trial. During deliberations, you may not communicate with

anyone not on the jury about this case. This includes any electronic communication such as email

or text or any blogging about the case. In addition, you may not conduct any independent




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investigation during deliberations. This means you may not conduct any research in person or

electronically via the internet or in another way.

           Communications Between Court and Jury During Jury’s Deliberations

       If it becomes necessary during your deliberations to communicate with me, you may send

a note by deputy, signed by your foreperson or by one or more members of the jury. No member

of the jury should try to communicate with me except by such a signed note, and I will never

communicate with any member of the jury on any matter concerning the merits of this case, except

in writing or orally here in open court.

       Bear in mind also that you are never, under any circumstances, to reveal to any person—

not the clerk or me—how jurors are voting until after you have reached a unanimous verdict. This

means that you should never tell me, in writing or in open court, how the jury is divided on any

matter—for example, 6-6 or 11-1, or in any other fashion—or whether the vote favors the

government, the defendant, or is on any other issue in the case.

                                    Jurors’ Duty to Deliberate

       It is your duty as jurors to consult with one another and to deliberate expecting to reach an

agreement. You must decide the case for yourself but you should do so only after thoroughly

discussing it with your fellow jurors. You should not hesitate to change an opinion when convinced

that it is wrong. You should not be influenced to vote in any way on any question just because

another juror favors a particular decision or holds an opinion different from your own. You should

reach an agreement only if you can do so in good conscience. In other words, you should not

surrender your honest beliefs about the effect or weight of evidence merely to return a verdict or

solely because of other jurors’ opinions.




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                        Attitude and Conduct of Jurors in Deliberations

        The attitude and conduct of jurors at the beginning of their deliberations are matters of

considerable importance. It may not be useful for a juror, upon entering the jury room, to voice a

strong expression of an opinion on the case or to announce a determination to stand for a certain

verdict. When one does that at the outset, a sense of pride may cause that juror to hesitate to back

away from an announced position after a discussion of the case. Furthermore, many juries find it

useful to avoid an initial vote upon retiring to the jury room. Calmly reviewing and discussing

the case at the beginning of deliberations is often a more useful way to proceed. Remember that

you are not partisans or advocates in this matter, but you are judges of the facts.

                               Multiple Defendants--Multiple Counts

        Each count of the indictment charges a separate offense. Moreover, each defendant is

entitled to have the issue of their guilt as to each of the crimes for which they are on trial determined

from their own conduct and from the evidence that applies to them as if they were being tried

alone. You should, therefore, consider separately each offense, and the evidence which applies to

it, and you should return separate verdicts as to each count of the indictment, as well as to each

defendant.

        The fact that you may find any one defendant guilty or not guilty on any one count of the

indictment should not influence your verdict with respect to any other count of the indictment for

that defendant. Nor should it influence your verdict with respect to any other defendant as to that

count or any other count in the indictment. Thus, you may find any one or more of the defendants

guilty or not guilty on any one or more counts of the indictment, and you may return different

verdicts as to different defendants and as to different counts. At any time during your deliberations

you may return your verdict of guilty or not guilty with respect to any defendant on any count.




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                                         Unanimity of Verdict

           A verdict must represent the considered judgment of each juror, and in order to return a

verdict, each juror must agree on the verdict. In other words, your verdicts must be unanimous.

                                  Possible Punishment Not Relevant

           The question of possible punishment of the defendant in the event of a conviction is not a

concern of yours and should not enter into or influence your deliberations in any way. The duty

of imposing sentence in the event of a conviction rests exclusively with me. Your verdict should

be based solely on the evidence in this case, and you should not consider the matter of punishment

at all.

                                    Exhibits During Deliberations

           I will be sending into the jury room with you the exhibits that have been admitted into

evidence except for the physical evidence. You may examine any or all of them as you consider

your verdicts. Please keep in mind that exhibits that were only marked for identification but were

not admitted into evidence will not be given to you to examine or consider in reaching your verdict.

           If you wish to examine the physical evidence, please notify the clerk by a written note, and

the marshal will bring the evidence to you. For security purposes, if you wish to examine any

firearms, ammunition, or firearms related evidence, the marshal will remain in the jury room while

each of you has the opportunity to examine this evidence. You should not discuss the evidence or

otherwise discuss the case among yourselves while the marshal is present in the jury room. You

may ask to examine this evidence as often as you find it necessary.

           If you wish to see or hear portions of the video or audio recordings that I have admitted

into evidence, you will have those exhibits available to you for deliberation.




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                     Furnishing the Jury with a Copy of the Instructions

       I will provide each of you with a copy of my instructions. During your deliberations, you

may, if you want, refer to these instructions. While you may refer to any particular portion of the

instructions, you are to consider the instructions as a whole and you may not follow some and

ignore others. If you have any questions about the instructions, you should feel free to send me a

note. Please return your instructions to me when your verdict is rendered.

                                   Verdict Form Explanation

       You will be provided with a Verdict Form for use when you have concluded your

deliberations. The form is not evidence in this case, and nothing in it should be taken to suggest or

convey any opinion by me as to what the verdict should be. Nothing in the form replaces the

instructions of law I have already given you, and nothing in it replaces or modifies the instructions

about the elements which the government must prove beyond a reasonable doubt. The form is

meant only to assist you in recording your verdict.

                                      Delivering the Verdict

       When you have reached your verdict, just send me a note telling me you have reached your

verdict, and have your foreperson sign the note. Do not tell me what your verdict is. The

foreperson should fill out and sign the verdict form that will be provided. We will then call you

into the courtroom and ask you your verdict in open court.

                                   Excusing Alternate Jurors

       The last thing I must do before you begin your deliberations is to excuse the alternate jurors.

As I told you before, the selection of alternates was an entirely random process; it’s nothing

personal. We selected the alternate seats before any of you entered the courtroom. Since the rest

of you have remained healthy and attentive, I can now excuse the jurors in seats 11, 14, and 16.




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       Before you leave, I am going to ask you to tear out a page from your notebook, and to write

down your name and daytime phone number and hand this to the clerk. I do this because it is

possible, though unlikely, that we will need to summon you back to rejoin the jury in case

something happens to a regular juror. Since that possibility exists, I am also going to instruct you

not to discuss the case with anyone until we call you. My earlier instruction on use of the Internet

still applies; do not research this case or communicate about it on the Internet. In all likelihood,

we will be calling you to tell you there has been a verdict and you are now free to discuss the case;

there is, however, the small chance that we will need to bring you back on to the jury. Thank you

very much for your service, and please report back to the jury office to turn in your badge on your

way out.

       You may now retire to begin your deliberations.




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